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 8
                                UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10
11   ELON MUSK, et al.,                       Case No. 4:24-cv-04722-YGR

12                    Plaintiffs,             Hon. Yvonne Gonzalez Rogers

13                                            PLAINTIFFS’ RESPONSE TO THE
         v.
                                              STATEMENT OF INTEREST OF THE
14                                            UNITED STATES AND FEDERAL
     SAMUEL ALTMAN, et al.,
15                                            TRADE COMMISSION
                      Defendants.
16                                            Date:     February 4, 2025
                                              Time:     2:00 p.m.
17                                            Place:    Courtroom 1 (4th Fl.)
                                                        1301 Clay St.
18                                                      Oakland, CA 94612
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                                                                     CASE NO. 24-CV-04722-YGR
30                                                     PLS.’ RESP. TO US STATEMENT OF INTEREST
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 1          Plaintiffs Elon Musk, Shivon Zilis, and X.AI Corp. (collectively, “Plaintiffs”) agree with

 2 the analytic frameworks provided in the Statement of Interest by the United States and Federal
 3 Trade Commission (“FTC”). Dkt. No. 87. The January 10, 2025, Statement of Interest, however,

 4 should be viewed in the context of the subsequent January 17, 2025, FTC report on the
 5 relationships between cloud service providers, such as Microsoft, and generative AI companies,
 6 such as OpenAI. See Toberoff Decl. Ex. 2 (“FTC Report”). This FTC Report, released on a 5-0
 7 vote (except as to one section), id. Ex. 1, confirms the allegations in Plaintiffs’ First Amended
 8 Complaint (“FAC”) and Motion for a Preliminary Injunction (“MPI”) concerning the
 9 anticompetitive conduct of Microsoft and OpenAI. E.g., FAC ¶¶ 168, 371, 380 (alleging
10 Microsoft obtained a non-voting seat on OpenAI’s board giving it access to competitively
11 sensitive information); MPI at 10-14 (explaining continuing harm from Defendants’ interlocking
12 directorates); Ex. 2 at 18 (confirming “Microsoft previously occupied an observer seat on the
13 board of OpenAI” and “continue[s] to receive information from OpenAI” even after relinquishing
14 its seat), id. at 17-29 (detailing the competitive advantages to Microsoft and OpenAI of their
15 conduct); FAC ¶¶ 98, 112, 147-48, 157-59, 288 (alleging that OpenAI became dependent on
16 Microsoft through OpenAI’s exclusive use of Microsoft as its cloud computing provider); MPI at
17 6-7 & n.4 (explaining that Microsoft’s leverage over OpenAI provides a basis for imputing
18 OpenAI’s conduct to Microsoft); Ex. 2 at 33-34 (confirming Microsoft is OpenAI’s “exclusive
19 cloud provider” and describing the significant cost and difficulty experienced by AI developers
20 such as OpenAI if they try to switch cloud providers, leaving AI developers “lock[ed] in” to such
21 partnerships). Plaintiffs therefore believe the Court should have the benefit of this FTC Report,
22 which adds important factual context to the Statement of Interest.
23   DATED: January 20, 2025                         Respectfully Submitted,

24                                                   TOBEROFF & ASSOCIATES, P.C.
25
                                                          /s/ Marc Toberoff
26                                                           Marc Toberoff

27                                                    Attorneys for Plaintiffs Elon Musk,
                                                     Shivon Zilis, and X.AI Corp.
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                                                      1                     CASE NO. 24-CV-04722-YGR
30                                                            PLS.’ RESP. TO US STATEMENT OF INTEREST
